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                                                    James I. Meyerson
                                                    510 Fifth Avenue- 3rd Floor (#335)
                                                    New York, New York 10036
                                                    (917) 570-5360
                                                    jimeyerson@gmail.com
                                                    ATTORNEY AT LAW

October 3, 2020

The Honorable Colleen McMahon
United States District Judge
Southern District of New York
500 Pearl Street-Suite # 24A
New York, New York 10007-1312

RE: Jeffrey Rothman vs The City of New York, etc., et al. /19 Civ 0225 (CM) (OTW)

Your Honor:

  On September 24, 2020 the parties appeared before your Honor at the Final Pre-trial
Conference (See: Docket Sheet 09/24/20 Minute Entry). The trial is scheduled to commence on
Tuesday October 6, 2020. At the Final Pre-trial Conference your Honor made rulings on the
admissibility of the several Plaintiff ‘s Proposed Trial Exhibits which had been pre-marked and
which Plaintiff listed as Exhibits which he might utilize at the trial and/or offer into evidence. 1

   Per your Honor’s procedures and practices the Court ruled on the admissibility or non-
admissibility of the Plaintiff’s listed Exhibits. As to some, the Court admitted the Exhibits into
evidence. As for others the Court denied admissibility and deemed them to be excluded from the
record (Docket Sheet 09/24/20 Minute Entry). The Court admitted Plaintiff’s Exhibit #’s 12, 12
(a), 14, 14 (a), 25, 26, 34, 35, and 38 (Doc. # 155). Subsequent thereto and per a written
communication (Doc. # 145), Plaintiff Rothman informed the Court that he was withdrawing
Plaintiff Exhibit #’s 12, 12 (a), 14, 14 (a) and 38, while reserving his right to utilize those
Exhibits in the cross examinations of Defendants Wunsch and Florez (Doc. # 145). The Court
granted the Plaintiff’s Request to withdraw Plaintiff Exhibit #’s 12, 12 (a), 14, 14(a) and 38
(Doc. # 155).

    The Court did not hear any argument by the Plaintiff on the admissibility or non-admissibility
of the Plaintiff’s Proposed Exhibits. The Court informed the Plaintiff that, to the extent that the
Court ruled against admissibility on any specific proposed Plaintiff Exhibit, an exception to such
by the Plaintiff would automatically be duly noted and that the Plaintiff was not required to state



1
  Plaintiff has obtained a copy of the transcript of the Pre-Trial conference. It is provided
herewith for the Court’s convenience. In addition and again for the convenience of the Court, the
Plaintiff has provided herewith copies of Plaintiff’s Exhibit #’s 1, 2, 3, redacted 35, and
 un-redacted 35, each of which is relevant to Plaintiff Rothman’s Request herein.
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on the record an exception to each Court ruling which denied admissibility of a proposed
Plaintiff Exhibit.

    Subsequently, the Court issued a written Order respecting Plaintiff’s Exhibit # 35 which had
been admitted in whole into evidence at the September 24, 2020 dated Final Pre-trial conference.
The Court ruled that only “handwritten notes that were made during the incident at One Police
Plaza on December 13, 2017…may be introduced” (Doc. # 155). Along with admitted Plaintiff
Exhibit #’s 25, 26, and 34, Plaintiff has provided your Law Clerk, Chloe Lewis, Esq., with a
copy of the now redacted Plaintiff Exhibit #35.

    Per this letter, Plaintiff Rothman requests that, on October 6, 2020 and prior to the
commencement of trial on that date after jury selection has been completed, he be provided an
opportunity to proffer evidence and addressing the Court’s ruling Plaintiff’s admitted redacted
Exhibit # 35:specifically about the redactions and the admissibility of Plaintiff’s un-redacted
document in whole. 2 In addition Plaintiff Rothman requests the opportunity to proffer evidence
and argument at that time addressing the Court’s ruling that Plaintiff Exhibit #’s 1 and 33 would
not be admitted into the trial record either in whole or in redacted part. Finally Plaintiff Rothman
requests that at that time he be provided an opportunity to proffer evidence and argument
addressing the Court’s ruling that Plaintiff Exhibit # 2 4would not be admitted into the trial
record either in whole or in redacted part.

   As to Plaintiff’s Exhibit # 35, the Plaintiff believe that all of the notes set forth in the
document constitute a business record under Rule803 (6) of the Federal Rules of Evidence. Thus
and as a business record Plaintiff’s Exhibit # 35 should be admitted into evidence in whole and in
an un-redacted fashion as an exception to the rule against hearsay. The notes memorialized in
Plaintiff’s Exhibit # 35 relate to the service by Plaintiff Rothman in the course of a litigation
which he was conducting as an attorney for a retained client and pursuant to his regular business
practices for serving process. Alternatively, the affected notes constitute “present sense
impressions” under Rule 803 (1) of the Federal Rules of Evidence, as they are “[a] statement[s]
describing or explaining an event or condition, made while or immediately after the declarant
perceived it.” (Emphasis added). Plaintiff Rothman’s redacted notes constitute a description of
what Defendants Wunsch and Florez did to him while he was inside of One Police Plaza. They

2
  Plaintiff’s Exhibit # 35 memorializes Mr. Rothman’s service related notes on a copy of the
Summons that, along with a Complaint, he was serving at One Police Plaza on December 13,
2017.
3
  Plaintiff’s Exhibit #’s 1 and 2 are respectively the Proof of Service and the Amended Proof of
Service of the Summons and Complaint on December 13, 2017 at One Police Plaza, each of
which Mr. Rothman wrote, and executed, and filed in this Court’s public record of the case in
which Plaintiff Rothman was then representing a client in a litigation against New York City
police officers.
4
  Plaintiff’s Exhibit # 2 is Plaintiff Rothman’s letter to the Corporation Counsel and the NYPD
Deputy Commissioner for Legal Matters which memorializes his Request that Wunsch and
Florez be disciplined for their actions on December 13, 2017 and that the security video
recordings be maintained and retained by the City and not destroyed.

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were made were immediately after he left One Police Plaza. Plaintiff Rothman had not had the
opportunity to record those brief notes “during the course of the incident” event itself inside of
One Police Plaza on December 13, 2017 due to the nature of the incident which is the subject
matter of this very litigation. He was unable to record all of the notes “during the incident” itself
because of the direction given to him by Defendant Florez during the incident to leave the
premises and the Plaintiff’s submission to that direction.5 That being said, he recorded the note
almost immediately after he left One Police Plaza and returned to his office, a very short distance
from One Police Plaza.

   As for Plaintiff’s Exhibit #’ 1 and 3, each is a business record: a Proof of Service, and an
Amended Proof of Service6. Under the Rules of the United States District Court, Plaintiff
Rothman - as counsel to the plaintiff in the litigation in which he was then serving process - was
required to prepare, execute, and file the Proof of Service business documents in the public
record of the litigation associated with the service of the Summons and Complaint on a party
Defendant in that litigation. The failure by Mr. Rothman to do so, and the failure by Mr.
Rothman to do so truthfully and in a manner and fashion describing the circumstances of the
service, could have had consequences for his client if the service was challenged by the
individual who was served or if the individual who was served failed to respond to the Summons
and Complaint; and it could have had consequences for Mr. Rothman himself.
Not insignificantly, all of the notes memorialized in Plaintiff’s Exhibit # 35 were utilized by the
Plaintiff in preparing the December 14, 2017 dated and filed Proof of Service; and all of the
notes were relevant to the actual service made on Florez on December 13, 2017 (as recorded by
Plaintiff Rothman in the Proof of Service document).

    Finally and as to Plaintiff’s Exhibit # 2, at the September 24, 2020 dated Final Pre-trial
Conference the Court ruled at pages 6-8 of the transcript of the conference proceedings that the
Plaintiff’s Exhibit # 2 was not admissible as evidence in the trial record. As part of its ruling the
Court stated to Mr. Rothman, “Fine. You can testify that you made a demand [for preservation
of the video footage].” Previously and at page four (4) of the Court’s September 21, 2020 Order
(Doc. # 139), the Court ruled:

               “However, there is a “lack of evidence” argument to be made, just as there would
               be if no demand letter had been sent or if no videotape had ever been made.
5
  The Advisory Committee notes to Rule 803 of the Federal Rules of Evidence state that “[w]ith
respect to the time element, Exception [paragraph] (1) recognizes that in many, if not most,
instances precise contemporaneity is not possible, and hence a slight lapse is allowable.” (Italics
in original). It is also unnecessary to know with exactitude precisely how many minutes after the
incident Mr. Rothman wrote these entries for the present sense impression exception to apply.
See: United States v. Blakey, 607 F.2d 779, 785-86 (7th Cir. 1979).
6
  In the Amended Proof of Service, the date of the service made on December 13, 2017 was
corrected from a mistakenly recorded September 13, 2017 date to the correct December 13, 2017
date. The Amended Proof of Service was otherwise identical to the initial Proof of Service, the
latter of which, pursuant to Plaintiff Rothman’s regular business protocols in his practice as an
attorney, was executed and filed with the Court on December 14, 2017, one day after the event
that forms the basis of this litigation.

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               Therefore, this ruling does not preclude the plaintiff from arguing to the jury that
               there is a lack of evidence because there is no videotape of the incident. Plaintiff
               may not, however, tell the jury that there once way [sic] a videotape, and may not
               tell the jury why there is no longer any videotape. And plaintiff may not ask the
               jury to infer that if there were a videotape it would support his version of events.”

    The Court’s rulings as they presently stand place Plaintiff Rothman in an unfair Catch-22
situation. If Plaintiff Rothman indeed testifies to the jury that he wrote a letter demanding the
preservation of video footage – evidence which is critical to his narrative, which is a highly
probative evidence concerning the truthfulness of his narrative, and which is potentially claim
resolving evidence - but his letter is not itself presented to the jury, then the jury may, pursuant
to whatever “lack of evidence” instruction the Court eventually gives the jury, consider the
absence of the letter in evidence and conclude, albeit without any basis for such, that Plaintiff
Rothman did not testify truthfully on the witness stand about transmitting a written preservation
demand. Such would be entirely unjust, as it is undisputed that Plaintiff Rothman did send a
written preservation demand (which Plaintiff has asked be entered into evidence, and which the
Court has excluded from evidence). Unlike the video footage, Plaintiff’s written preservation
letter very much exists.

    Thus and in light of the Court’s prior rulings, Plaintiff Rothman would ask at the requested on
the record pre-commencement of the trial proffer of evidence and argument conference either:
(a)that the Court instruct the jury that, by letter dated December 28, 2017, Plaintiff Rothman
demanded that the Corporation Counsel of the City of New York and the Deputy Commissioner
for Legal Matters for the New York City Police Department preserve any video footage
depicting Plaintiff Rothman’s interactions with Defendants Wunsch and Flores, and that that
letter was hand-delivered on December 29, 2017 at the Office of the Corporation Counsel, and
also sent by certified mail on December 29, 2017 to the NYPD’s Deputy Commissioner for
Legal Matters, and that neither Mr. Rothman’s December 28, 2017 letter, nor any video footage,
will be presented to the jury at this trial; or (b) that the Court permit Plaintiff Rothman’s
December 28, 2017 letter to be entered into evidence in redacted form (leaving unredacted Mr.
Rothman’s demand that the video footage be preserved, and Mr. Rothman’s demand that
Defendants Wunsch and Florez be disciplined for their conduct).

Sincerely yours,
/s/ James I. Meyerson
James I. Meyerson
JIM
copy (by ecf transmittal):
Brian Francolla, Esq.
Maria Fernanda DeCastro, Esq.
Jeffrey Rothman, Esq.




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